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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                    :   CIVIL ACTION NO. 4:15-CV-02072
                                             :
                    Plaintiff,               :
                                             :   (Judge Brann)
             v.                              :
                                             :
THE PENNSYLVANIA STATE                       :
UNIVERSITY; ERIC BARRON,                     :
in his individual capacity and in his        :
official capacity as President of the        :
Pennsylvania State University; and           :
DANNY SHAHA, in his individual               :
capacity and official capacity as Senior     :
Director of the Office of Student Conduct,   :
                                             :
                    Defendants.              :

                                       ORDER

      AND NOW, this 28th day of October 2015, upon consideration of Plaintiff’s

Motion for an Emergency Temporary Restraining Order, dated October 26, 2015,

ECF No. 3, a telephone conference held on this date between counsel for the

parties, and the Court’s determination that:

      1.     Plaintiff has adequately demonstrated that he is reasonably likely to

             succeed on the merits of his 42 U.S.C. § 1983 claim brought pursuant

             to the Due Process Clause of the Fourteenth Amendment of the United

             States Constitution in light of the potential inadequacy of the

             procedure afforded him by Defendants during a disciplinary hearing

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     that resulted in his two-semester suspension from The Pennsylvania

     State University (“University”);

2.   Plaintiff has adequately demonstrated a clear showing of immediate,

     irreparable harm if Defendants enforce the disciplinary sanctions

     previously imposed on Plaintiff. Specifically, because of Plaintiff’s

     immigration status, there is a presently existing actual threat that

     should the alterations to his student status be entered, noticed, or

     otherwise transmitted by the University, they will result in the

     initiation of federal immigration proceedings against Plaintiff, with

     the ultimate consequence of his deportation from the United States

     and relocation to his homeland of Syria, where he will face the

     potential for serious bodily harm and related injuries. The Court notes

     that media coverage in this case, which has already occurred at this

     early stage of the litigation, makes the indicated harm even more

     likely and immediate. Plaintiff also will suffer from the deprivation of

     his right to continue his education in an ordinary and timely manner;

3.   Were the Court to erroneously grant the temporary restraining order,

     Defendants would not suffer greater harm than Plaintiff would suffer

     were the temporary restraining order erroneously denied;


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     4.   Plaintiff’s relief is in the public interest;

     5.   Counsel for Defendants have been noticed and have entered their

          appearances; and

     6.   The Court and the parties are unable to hold an in-person hearing

          addressing Plaintiff’s request for a preliminary injunction until

          November 23, 2015.




IT IS HEREBY ORDERED that:

     1.   Defendants are ENJOINED from enforcing the University’s

          disciplinary suspension and any other related sanctions imposed on

          Plaintiff on September 4, 2015.

     2.   Defendants, through the University’s Office of Global Programs, are

          ENJOINED from entering any notations or information concerning

          Plaintiff’s suspension from the University or any changes in his

          student status resulting from the disciplinary proceedings into the

          Student Exchange Visitor Information System maintained by the

          United States Department of Homeland Security.

     3.   This Order shall be effective immediately, commencing at 5:00 p.m.


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     on October 28, 2015.

4.   By agreement and consent of the parties, this Order shall remain in

     effect until November 24, 2015 at 11:59 p.m., pending renewal upon

     conclusion of the preliminary injunction hearing on November 23,

     2015.

5.   A hearing on Plaintiff’s Motion for a Preliminary Injunction, ECF No.

     3, is set for November 23, 2015, at 10:00 a.m., in Courtroom One,

     Fourth Floor, United States Courthouse and Federal Building, 240

     West Third Street, Williamsport, PA 17701.

6.   Plaintiff shall not be required to give security.




                                   BY THE COURT:



                                   s/ Matthew W. Brann
                                   Matthew W. Brann
                                   United States District Judge




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